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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


NEW ENGLAND SPORTS          )
NETWORK, L.P.,              )
     Plaintiff              )
                            )
     v.                     )                         Criminal No. 22-CV-10024-MJJ
                            )
ALLEY INTERACTIVE LLC (CT), )
ARIEL LEGASSA,              )
     Defendants             )

                      Assented-to Motion To Continue Status Conference

       Defendants Ariel Legassa and Alley Interactive LLC move, with the assent of Plaintiff, to

continue the status conference currently scheduled for April 30, 2024 to a date that is convenient

for the court in June. As grounds for this Motion, Defendants state that undersigned counsel

starts a three-week trial in Suffolk Superior Court on April 29. The trial schedule is 9:00 a.m. to

4:00 p.m.

       Plaintiff assents to this motion.



                                                      ARIEL LEGASSA
                                                      ALLEY INTERACTIVE LLC,
                                                       By their attorney,

                                                      /s/ E. Peter Parker
                                                      E. Peter Parker
                                                        B.B.O. #552720
                                                      Law Office of E. Peter Parker
                                                      The Wheelhouse at Bradford Mill
                                                      Concord, MA 01742
                                                      (617) 742-9099
                                                      peter@parkerslaw.com
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                     Certificate of Compliance With Local Rule 7.1(a)(2)

        Undersigned counsel hereby certifies that he has conferred with Plaintiff’s counsel and
has attempted in good faith to resolve or narrow the issues presented in this motion. Plaintiff
asesents to this motion.


                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on April 26, 2024.

                                                      /s/ E. Peter Parker
                                                      E. Peter Parker




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